Case 1:19-cv-03153-RLY-TAB Document 105 Filed 11/16/20 Page 1 of 16 PageID #: 838




                    UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF INDIANA
                        INDIANAPOLIS DIVISION

  LYNN STARKEY,               )
                              )
       Plaintiff,             )
                              )
       v.                     )            Case No. 1:19-cv-03153-RLY-TAB
                              )
  ROMAN CATHOLIC ARCHDIOCESE )
  OF INDIANAPOLIS, INC. and   )
  RONCALLI HIGH SCHOOL, INC., )
                              )
       Defendants.            )

           DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION
           FOR CERTIFICATION FOR INTERLOCUTORY APPEAL
                      UNDER 28 U.S.C. § 1292(b)
Case 1:19-cv-03153-RLY-TAB Document 105 Filed 11/16/20 Page 2 of 16 PageID #: 839




                                                TABLE OF CONTENTS
  INTRODUCTION .......................................................................................................... 1

  ARGUMENT .................................................................................................................. 2

  I. The Court should certify the Title VII and First Amendment
    questions for interlocutory appeal. ............................................................................. 2

      A. The Title VII question is a controlling, contestable
         question of law................................................................................................................. 2

      B. The church autonomy question is a controlling, contestable
         question of law. ................................................................................................... 5

      C. The freedom of association question is a controlling, contestable
         question of law. ................................................................................................... 8

      D. Resolution of each question would materially advance the
         ultimate termination of the litigation. ............................................................. 10

  CONCLUSION............................................................................................................. 13




                                                                     i
Case 1:19-cv-03153-RLY-TAB Document 105 Filed 11/16/20 Page 3 of 16 PageID #: 840




                                    INTRODUCTION

     The Archdiocese has requested certification of three controlling, contestable legal

  questions on (1) the scope of Title VII’s religious exemption, (2) the applicability of

  church autonomy doctrine, and (3) the scope of the First Amendment freedom of ex-

  pressive association. This Court has already recognized that these are “difficult ques-

  tions.” Dkt. 93 (Ord.) at 1. And if resolved differently on appeal, they would “materi-

  ally advance the ultimate termination of the litigation” (28 U.S.C. § 1292(b))—not

  only by simplifying any further proceedings but also by likely obviating the need for

  any further proceedings at all.

     Starkey does not dispute that these are timely raised legal questions, that they

  could affect further proceedings in the case, or that at least some courts have adopted

  a different position on them than this Court. Instead, she claims that conflicting au-

  thority is not “substantial” if it has been criticized, is insufficiently recent, or reads

  Supreme Court precedent differently than this Court. But that is not the standard

  under § 1292(b).

     Alternatively, Starkey claims that “materially advanc[ing] the ultimate termina-

  tion” of litigation can mean only one thing—getting to trial and final judgment faster.

  But numerous cases applying § 1292(b) have rejected that view, holding instead that

  the relevant consideration is whether an interlocutory appeal might eliminate some

  claims, simplify further proceedings, or obviate the need for a trial—which is what

  reversal would do here. Indeed, if the primary consideration under § 1292(b) were

  whether an interlocutory appeal might push back a trial date, virtually no interlocu-

  tory appeal would ever be granted. Yet federal courts have regularly certified

  § 1292(b) appeals in cases like this one—including on the scope of Title VII’s religious

  exemption and the scope of church autonomy—and the Seventh Circuit has indicated

  that the very Title VII question presented here is appropriate for certification. Ac-

  cordingly, certification should be granted.


                                                1
Case 1:19-cv-03153-RLY-TAB Document 105 Filed 11/16/20 Page 4 of 16 PageID #: 841




                                       ARGUMENT
  I.   The Court should certify the Title VII and First Amendment questions
       for interlocutory appeal.
       Each question presented here satisfies the requirements of 28 U.S.C. § 1292(b).

  (Dkt. 95-1). Each (1) is a question of law, (2) is controlling, (3) is contestable, (4) may

  advance termination of the litigation, and (5) is timely raised. Starkey does not dis-

  pute the first or fifth factors, and her arguments on the other factors are meritless.
       A. The Title VII question is a controlling, contestable question of law.
       The scope of Title VII’s religious exemption is controlling because, if resolved in

  the Archdiocese’s favor, it would dispose of all of Starkey’s federal claims. Dkt. 102 at

  11. And it is contestable because other courts have adopted conflicting positions on

  it. See, e.g., Curay-Cramer v. Ursuline Acad., 450 F.3d 130 (3d Cir. 2006); Curay-

  Cramer, 344 F. Supp. 2d 923, 935 (D. Del. 2004) (district court disposition); Maguire

  v. Marquette Univ., 627 F. Supp. 1499 (E.D. Wis. 1986), aff’d in part and vacated in

  part, 814 F.2d 1213 (7th Cir. 1987); EEOC v. Miss. Coll. 626 F.2d 477 (5th Cir. 1980).

  Indeed, multiple Supreme Court Justices (and scholars) have noted that this question

  is “disputed” among “lower courts.” Bostock v. Clayton Cty., 140 S. Ct. 1731, 1781

  (2020) (Alito, J., dissenting); Dkt. 95-1 at 10-11 (collecting scholarship). And the Sev-

  enth Circuit has strongly suggested that the scope of Title VII’s religious exemption

  is appropriate for interlocutory review. Herx v. Diocese of Fort Wayne-S. Bend, Inc.,

  772 F.3d 1085, 1088 (7th Cir. 2014).

       In response, Starkey says the Seventh Circuit’s decision in Herx provides “no guid-

  ance at all” about the appropriateness of certification. Dkt. 102 at 16. But Herx ap-

  provingly cited the Fourth Circuit’s certification of a similar question on the scope of

  Title VII’s religious exemption, 772 F.3d at 1088 (citing Kennedy v. St. Joseph’s Min-

  istries, Inc., 657 F.3d 189, 191 (4th Cir. 2011)), and the Seventh Circuit has elsewhere

  called this Title VII question “difficult and complex.” Maguire v. Marquette Univ., 814



                                              2
Case 1:19-cv-03153-RLY-TAB Document 105 Filed 11/16/20 Page 5 of 16 PageID #: 842




  F.2d 1213, 1216 (7th Cir. 1987). Indeed, the Seventh Circuit in Herx would have no

  reason to say that the diocese could “ask the court to certify” the Title VII question if

  asking would be futile. 772 F.3d at 1088.

     Alternatively, Starkey claims the scope of Title VII’s religious exemption is not

  “controlling” because it “would not resolve [her] state law claims.” Dkt. 102 at 11. But

  that misstates the standard. A question need not dispose of the entire case to be con-

  trolling; instead, it need only be “quite likely to affect the further course of the litiga-

  tion, even if not certain to do so.” Sokaogon Gaming Enter. Corp. v. Tushie-Montgom-

  ery Assocs., Inc., 86 F.3d 656, 659 (7th Cir. 1996). Here, the religious exemption, if

  applicable, would bar all of Starkey’s Title VII claims—meaning it is controlling for

  purposes of § 1292(b). Dkt. 59 at 9-10 (collecting cases). In any event, Starkey does

  not dispute that the normal course, after dismissal of the Title VII claims, would be

  to dismiss the state law claims too—meaning reversal on the Title VII exemption

  likely would resolve this lawsuit in its entirety, state-law claims included.

      Starkey also says the scope of Title VII’s religious exemption is not “controlling”

  because her same-sex union was not (in her view) a “religious observance”—and

  therefore the religious exemption would “not apply.” Dkt. 102 at 11. But this is simply

  a merits argument about whether or not the religious exemption applies in this case.

  It says nothing about whether, assuming the exemption applies, it is “controlling” for

  purposes of § 1292(b). It is also a faulty merits argument. There is no authority—and

  Starkey cites none—suggesting that the applicability of the religious exemption turns

  on whether an employee views her conduct as “religious.” Instead, the exemption

  turns on whether the employer is making a selection based on “the employers’ reli-

  gious precepts.” See, e.g., Little v. Wuerl, 929 F.2d 944, 946, 951 (3d Cir. 1991) (non-

  renewal due to second marriage “by a Justice of the Peace”). And the Seventh Circuit

  has warned that it is “inappropriate” for courts to “challeng[e] a religious institution’s




                                               3
Case 1:19-cv-03153-RLY-TAB Document 105 Filed 11/16/20 Page 6 of 16 PageID #: 843




  honest assertion that a particular practice is a tenet of its faith.” Grussgott v. Mil-

  waukee Jewish Day Sch., Inc., 882 F.3d 655, 660 (7th Cir. 2018).

     As for contestability, Starkey gives no response to Bostock’s recognition that Title

  VII’s religious exemption is relevant in cases like this one. 140 S. Ct. at 1753-54. She

  gives no response to multiple Justices’ (and multiple scholars’) recognition that the

  applicability of the exemption to religious-conduct decisions is “disputed” among

  “lower courts.” Id. at 1781 (Alito, J., dissenting); Dkt. 95-1 at 10-11 (scholars noting

  that “cases are mixed”). And she gives no response to decisions by the Third, Sixth,

  and Eleventh Circuits saying that the religious exemption protects employers who

  impose religiously-motivated conduct rules. Dkt. 95-1 at 13-14 (citing Little, Hall, and

  Killinger).

     Instead, she tries to distinguish several contrary cases, but without success:
        Starkey does not dispute that Maguire conflicts with this Court’s decision; she
         simply says this Court was right to assign it “little to no weight” since the Sev-
         enth Circuit resolved the case on “narrower ground.” Dkt. 102 at 16. But the
         Seventh Circuit never disapproved of the lower court’s reasoning; to the con-
         trary, it complimented the district court’s “conscientious[] grappl[ing] with
         the” “scope of the religious-employer exception,” calling that question “difficult
         and complex.” Maguire, 814 F.2d at 1216. So the Maguire district court’s deci-
         sion still offers an example of another jurist “adopt[ing] conflicting positions,”
         Patrick v. Pyod, LLC, No. 1:14-cv-00539-RLY-TAB, 2014 WL 5343284, at *1
         (S.D. Ind. Oct. 20, 2014), and the Seventh Circuit’s characterization of the
         question at issue here only supports that it is contestable.
        Starkey tries to distinguish Mississippi College on the ground that the hiring
         decision there was based on “an established policy of hiring Baptists.” Dkt. 102
         at 16. But that is no distinction at all, as the hiring decision here was likewise
         based on an established policy (written into Starkey’s contract) of hiring indi-
         viduals whose “personal conduct … [is] supportive of the teachings of the Cath-
         olic Church.” Dkt. 59 at 4. The question is whether acting on a religious re-
         quirement (whether belief-based or observance-based) is protected by Title
         VII’s religious exemption, even when the plaintiff claims sex discrimination.
         On that question, Mississippi College conflicts with this Court.
        On Curay-Cramer, Starkey simply ignores the district court decision (not pre-
         viously addressed by this Court), which held that even if opposition to abortion
         advocacy was per se sex discrimination, it would still not be cognizable due to


                                             4
Case 1:19-cv-03153-RLY-TAB Document 105 Filed 11/16/20 Page 7 of 16 PageID #: 844




        its overlap with doctrinal matters. 344 F. Supp. 2d at 935. And Starkey makes
        no effort to distinguish the Third Circuit’s holding that sex discrimination
        claims are barred by the religious exemption when they would “jeopardize[]” a
        religious organization’s ability to be staffed by those who obey its “doctrinal
        practices.” 450 F.3d at 141. Indeed, the gravamen of Starkey’s complaint is
        that Catholic organizations may not maintain organizations “composed solely
        of individuals faithful to their doctrinal practices” on marriage—even where,
        as here, the school’s mission is to inculcate those teachings. Id. (emphasis
        added).
     In short, Starkey cannot escape a simple fact: Multiple courts have applied Title

  VII’s religious exemption to bar claims of sex discrimination when the employment

  decision was based on the employer’s religious standards of conduct. Accordingly, cer-

  tification is appropriate.
     B. The church autonomy question is a controlling, contestable
        question of law.
     The Archdiocese’s second question—whether the church autonomy doctrine bars

  an employment-discrimination suit only when “the employee qualifies as a minister,”

  Ord. 18, or whether it also bars suits “[w]hen a church makes a personnel decision

  based on religious doctrine,” Bryce v. Episcopal Church in the Diocese of Colo., 289

  F.3d 648, 660 (10th Cir. 2002)—likewise satisfies § 1292(b). It is controlling because,

  if resolved against Starkey, it would require dismissal of the entire case. See Dkt.

  95-1 at 14-15 (collecting cases). And it is contestable because other courts—including

  Bryce, Garrick, Aparicio, and Brazauskas—have reached a different result.

     Starkey claims the question is not controlling because, even if the Seventh Circuit

  reached a different result, “discovery would be necessary in order to resolve this

  [church autonomy] defense.” Dkt. 102 at 12. Not so. The courts in Garrick and Apa-

  ricio resolved the church autonomy defense on the pleadings, without conducting any

  discovery. Garrick v. Moody Bible Inst., 412 F. Supp. 3d 859, 862 (N.D. Ill. 2019)

  (Garrick I); Aparicio v. Christian Union, Inc., No. 18-cv-0592 (ALC), 2019 WL

  1437618, at *1 (S.D.N.Y. Mar. 29, 2019). And Bryce resolved it on a motion to dismiss,

  which it converted to summary judgment only because the defendant attached


                                            5
Case 1:19-cv-03153-RLY-TAB Document 105 Filed 11/16/20 Page 8 of 16 PageID #: 845




  exhibits. 289 F.3d at 654-55. Here, even exhibits are unnecessary: On the face of her

  complaint, Starkey alleges that she was nonrenewed because of the Archdiocese’s re-

  ligious objections to her same-sex union. Dkt. 1 ¶¶ 42, 45. She has not alleged any

  reason for nonrenewal unrelated to the Archdiocese’s religious beliefs. Thus, if the

  Seventh Circuit agrees with Garrick, Aparicio, Brazauskas, and Bryce—that church

  autonomy bars civil court interference with “personnel decision based on religious

  doctrine,” 289 F.3d at 660—then Starkey’s claims must be dismissed.

     Starkey also fails to distinguish the cases showing that the question is contestable.

  On Bryce, her only argument is that it was decided ten years before Hosanna-Tabor

  Evangelical Lutheran Church & School v. EEOC, 565 U.S. 171 (2012). Dkt. 102 at 17.

  That is irrelevant. Hosanna-Tabor merely confirmed a “ministerial exception” that

  had been recognized for decades, as expressly acknowledged in Bryce. See Bryce, 289

  F.3d at 656, 658 n.2. And Hosanna-Tabor itself approvingly cites Bryce’s discussion

  of the ministerial exception, which distinguishes the exception from other autonomy

  principles. 565 U.S. at 188 n.2; see Korte v. Sebelius, 735 F.3d 654, 677-78 (7th Cir.

  2013) (explaining applications of church autonomy beyond ministerial exception, and

  noting “[t]he religious-employer exemptions in Title VII” as a “legislative applica-

  tion[] of the church-autonomy doctrine”).

     Alternatively, Starkey says there is “little room, if any,” to apply church-autonomy

  doctrine in the employment context given the modern ministerial exception’s broad

  scope. Dkt. 102 at 17. But Bryce and other courts disagree. They treat the ministerial

  exception as a specific, narrow application of “the broader church autonomy doctrine.”

  289 F.3d at 658 n.2. That is, church autonomy broadly protects religious organiza-

  tions when they make employment decisions for religious reasons, regardless of

  whether the employee was a minister; the ministerial exception applies more nar-

  rowly to ministers, but applies regardless of whether the employment decision was

  based on a religious reason. See Our Lady of Guadalupe Sch. v. Morrissey-Berru, 140


                                              6
Case 1:19-cv-03153-RLY-TAB Document 105 Filed 11/16/20 Page 9 of 16 PageID #: 846




  S. Ct. 2049, 2060-61 (2020) (ministerial exception is one “insight” within “the general

  principle of church autonomy”). This Court need not agree with this view to recognize

  it is a differing view held by other jurists.

     Starkey likewise fails to distinguish the rulings in Garrick v. Moody Bible Insti-

  tute, which barred a sex discrimination claim by a non-ministers when the employ-

  ment decision was “rooted firmly in … religious beliefs.” 412 F. Supp. 3d at 872; see

  Garrick II, No. 18 C 573, 2020 WL 6044292, at *6 (N.D. Ill. Oct. 13, 2020). Although

  she says she can avoid Garrick if she argues that the Archdiocese’s religious objection

  to her same-sex union was a “pretext,” she has not pled any non-religious rationale

  for the Archdiocese’s decision. Dkt. 102 at 18 (citing her proposals to seek evidence

  regarding how other church teachings were treated). And in any event, this Court has

  already ruled that such evidence is “not necessary” here. Dkt. 93 at 20.

     Nor can Starkey distinguish Aparicio, which barred a Title VII claim of “gender

  discrimination” challenging a religious practice. 2019 WL 1437618, at *1. She says

  Aparicio bars a “non-ministerial employee” from complaining about “discrimination

  against a ministerial employee.” Dkt. 102 at 18. But Aparicio specifically held the

  defendant was “not entitled to the ministerial exception”; thus, it is yet another ex-

  ample of church autonomy reaching more broadly than the ministerial exception.

  2019 WL 1437618, at *7 (emphasis added).

     On Brazauskas v. Fort Wayne-South Bend Diocese, Inc., Starkey says this Court

  “already distinguished” it on the ground that the plaintiff “filled a religious role.” Dkt.

  102 at 18. But she simply ignores the fact that this Court’s analysis tracks the Bra-

  zauskas dissent—saying that church autonomy applies only “in cases involving mem-

  bers of the clergy,” not to claims “by non-ministerial employees”—and that this view

  was rejected by the Brazauskas majority. Compare Brazauskas, 796 N.E.2d 286, 295-

  96 (Ind. 2003) (Sullivan, J., dissenting) with id. at 293-94.




                                                  7
Case 1:19-cv-03153-RLY-TAB Document 105 Filed 11/16/20 Page 10 of 16 PageID #: 847




     Lastly, Starkey reaches for Demkovich v. St. Andrew the Apostle Parish, 973 F.3d

  718, 730 (7th Cir. 2020), arguing that at least her “hostile environment claims” can

  proceed “without violating church autonomy.” Dkt. 102 at 19. But Demkovich permits

  hostile environment claims only when those claims “do not challenge tangible em-

  ployment actions,” such as “hiring, firing, promoting, deciding compensation, job as-

  signments, and the like.” 973 F.3d at 720. Here, Starkey has not alleged any facts in

  support of a hostile environment claim independent of a tangible employment action.

  See Dkt. 1 ¶¶ 12-47 (“Factual Allegations”). Thus, Demkovich can’t help her.

     In short, the church-autonomy issue is a controlling, contestable question of law

  that, if resolved in the Archdiocese’s favor, would bar Starkey’s claims and eliminate

  the need for intrusive discovery and trial. The issue should be certified.
     C. The freedom of association question is a controlling, contestable
        question of law.
     The Archdiocese’s third question—whether the First Amendment right of expres-

  sive association extends to employment claims—is controlling because it would sub-

  stantially alter the case and bar Starkey’s claims. And it is contestable because mul-

  tiple courts have recognized that Boy Scouts of America v. Dale extends to employ-

  ment claims. 530 U.S. 640, 648 (2000).

     Starkey argues extending Dale to employment would not be controlling because

  there is a “balancing” that must be conducted under strict scrutiny. Dkt. 102 at 13.

  But this argument fails for two reasons. First, even assuming balancing is required,

  it would “affect the further course of the litigation”—including both discovery and the

  merits—to require Starkey to satisfy strict scrutiny. Sokaogon Gaming, 86 F.3d at

  659. Second, and more importantly, Starkey cannot satisfy strict scrutiny as a matter

  of law. She has not even proposed a plausible strict scrutiny argument that she in-

  tends to argue that would be consistent with Dale. And that is because Dale already

  resolves the strict scrutiny issue against her—holding that the government can’t



                                             8
Case 1:19-cv-03153-RLY-TAB Document 105 Filed 11/16/20 Page 11 of 16 PageID #: 848




  satisfy strict scrutiny when it tries to force an expressive organization to include an

  individual who undermines its message on human sexuality. 530 U.S. at 648. Indeed,

  if the claim in Dale failed strict scrutiny—when the Boy Scouts admittedly had no

  clear message on homosexuality and did not seek to inculcate those views in the or-

  ganization, id. at 650, 654—this is an a fortiori case, where the Catholic Church has

  had a clear teaching on human sexuality for millennia, and a core purpose of a Cath-

  olic school is to inculcate that teaching.

     On whether the issue is contestable, Starkey does not even attempt to distinguish

  the multiple cases applying Dale in the employment context; indeed, she doesn’t even

  cite them. See, e.g., Our Lady’s Inn v. City of St. Louis, 349 F. Supp. 3d 805 (E.D. Mo.

  2018) (applying Dale to bar application of employment laws to Catholic schools); Boy

  Scouts of America v. Wyman, 335 F.3d 80, 91 (2d Cir. 2003) (Boy Scouts may “under

  any reading of Dale” exclude “gay activists” from employment as leaders); Chi. Area

  Council of Boy Scouts of Am. v. City of Chi. Comm’n on Hum. Rels., 748 N.E.2d 759,

  769 (Ill. App. Ct. 2001) (similar); see also Priests for Life v. HHS, 7 F. Supp. 3d 88,

  109 (D.D.C. 2013) (suggesting that freedom of association protects against “forcing

  [groups ] to … hire employees”).

      Instead, she stakes everything on her reading of Hishon v. King & Spalding, 467

  U.S. 69 (1984). But this fails for several reasons. First, she cites no authority adopting

  her sweeping view of Hishon. Second, her reading of Hishon would mean that every

  case applying Dale in the employment context after Hishon was wrongly decided—

  which is both implausible and simply underscores that her unsupported reading of

  Hishon is contestable. Third, her reading of Hishon is inconsistent with Hishon it-

  self—as it would render Hishon’s discussion of the merits of the expressive associa-

  tion defense, including the failure to demonstrate an “inhibit[ion]” of expression, mere

  surplusage. 467 U.S. at 78. Finally, her reading of Hishon is inconsistent with Ho-

  sanna-Tabor—in which both the plaintiff and the EEOC (which is charged with


                                               9
Case 1:19-cv-03153-RLY-TAB Document 105 Filed 11/16/20 Page 12 of 16 PageID #: 849




  enforcing Title VII) agreed that “religious organizations could successfully defend

  against employment discrimination claims” by “invoking the constitutional right to

  freedom of association.” 565 U.S. at 189 (emphasis added). The Supreme Court did

  not disagree that this “is a right enjoyed by religious and secular groups alike”; yet it

  went even further in recognizing “special solicitude” and even broader protection for

  “a religious organization’s freedom to select its own ministers.” Id. In short, Starkey’s

  idiosyncratic view of expressive association is at least sufficiently contestable for cer-

  tification.
     D. Resolution of each question would materially advance the ultimate
        termination of the litigation.
     As Starkey does not contest timeliness, the only remaining question is whether

  “immediate appeal may materially advance the ultimate termination of the litiga-

  tion.” Sterk v. Redbox Automated Retail, LLC, 672 F.3d 535, 536 (7th Cir. 2012) (em-

  phasis in original). As the Archdiocese has explained, the Seventh Circuit has held

  that certification is “almost certain” to advance ultimate termination where reversal

  will take the “main” claim “out of the case.” Id. Certification also advances ultimate

  termination when “costly discovery and other litigation expenses” “could be spared,”

  Pyod, 2014 WL 5343284, at *2, or when appeal could provide “guidance” for trial or

  eliminate trial entirely. Gamboa v. City of Chi., No. 03 C 219, 2004 WL 2877339, at

  *4 (N.D. Ill. Dec. 13, 2004); see also Dkt. 95-1 at 22 (collecting cases).

     Unable to dispute that reversal on the certified questions would remove her cen-

  tral claims, eliminate costly discovery, and likely resolve the case entirely, Starkey

  tries to distort the legal standard—arguing that the “ultimate termination” standard

  boils down to only one consideration: whether the “timetable for terminating the liti-

  gation” is “shorter” with an immediate appeal. Dkt. 102 at 8. Of course, interlocutory

  appeal will shorten the timetable of this litigation if certification is granted and the




                                              10
Case 1:19-cv-03153-RLY-TAB Document 105 Filed 11/16/20 Page 13 of 16 PageID #: 850




  Seventh Circuit holds that Starkey’s claims are barred. Thus, even under Starkey’s

  cramped view of § 1292(b), certification is appropriate.

     But § 1292(b) doesn’t ask whether interlocutory appeal will shorten the timetable

  of litigation; it asks whether it “may materially advance the ultimate termination of

  the litigation.” 28 U.S.C. § 1292(b) (emphasis added). This is a question not merely of

  the number of days before a case is terminated but also how it is terminated—includ-

  ing the “total burdens of litigation on parties and the judicial system.” 16 Wright &

  Miller, Federal Practice and Procedure § 3930 (3d ed.). Thus, numerous courts have

  recognized that, whether or not it hastens the litigation, interlocutory appeal is ap-

  propriate when it would simplify litigation by eliminating some claims, reducing

  costly discovery and other litigation expenses, or obviating the need for a trial. See,

  e.g., Dahlstrom v. Sun-Times Media, LLC, 39 F. Supp. 3d 998, 1003 (N.D. Ill. 2014)

  (recognizing that certification was appropriate because the appeal “could end this

  case before the parties proceed to discovery and beyond”); Pyod, 2014 WL 5343284,

  at *2 (observing that “costly discovery and other litigation expenses” “could be spared

  with an immediate appeal”); Dkt. 95-1 at 22 (collecting cases). An interlocutory re-

  versal from the Seventh Circuit would obviously do that here.

     And immediate appeal is all the more appropriate here due to the weighty First

  Amendment issues on the other side of the ledger. Although religious organizations

  of course have no “general immunity from secular laws,’” Dkt. 102 at 9, as we have

  explained, where church autonomy or the ministerial exception applies, those doc-

  trines function not just as a defense to liability but as an immunity from the burdens

  of discovery and trial. See Dkt. 42 at 14-21 (collecting cases confirming the immunity

  and granting interlocutory appeal or bifurcation to protect it). Thus, denying imme-

  diate appeal risks not just the ordinary litigation costs of unnecessary discovery and

  trial, but irreparable destruction of a fundamental First Amendment immunity. That




                                            11
Case 1:19-cv-03153-RLY-TAB Document 105 Filed 11/16/20 Page 14 of 16 PageID #: 851




  is why so many cases have granted interlocutory appeal to consider questions of

  church autonomy or the ministerial exception. Dkt. 95-1 at 24-25 (collecting cases). 1

      Against all this, Starkey’s lone counterargument is that certification should be

  denied because it would disrupt the current case management schedule. Not only is

  that not the standard—and she offers no case law to say it is—but she tellingly cannot

  show that the case management schedule as it stands will not already be delayed.

  Specifically, with three months to trial, Starkey has not yet provided any discovery

  to the Archdiocese beyond the ministerial exception—after availing herself of the stay

  on such discovery. Yet she has submitted a case management proposal suggesting

  dispositive motions be filed in just eight days (November 24), before a later close of

  discovery. Dkt. 103 at 6. As the Archdiocese explained in reply, Dkt. 104, that would

  deprive the Archdiocese of its right to file a summary judgment motion based on all

  evidence, and certainly deprive the Court of a full opportunity to consider such mo-

  tions before trial. And such a proposal is particularly inappropriate where the Court

  itself has suggested that at least one of the Archdiocese’s defenses apart from the

  ministerial exception “may be” viable, but would be “more appropriately addressed

  after discovery” has closed. Dkt. 93 at 20 (entanglement).

      In short, certification will conserve judicial resources by giving the Seventh Cir-

  cuit the opportunity to weigh in on the very significant statutory and First Amend-

  ment issues at the core of this case. Reversal on those issues would eliminate the need

  for discovery and trial, vastly simplifying (and likely ending) this case. And if the

  Seventh Circuit disagrees that interlocutory appeal is appropriate, it can simply de-

  cline to accept the appeal.


  1 The Archdiocese also intends to file a notice of appeal by November 20, 2020, to
  preserve its right to collateral order review of its First Amendment immunity. How-
  ever, certification will promote judicial efficiency by obviating the need for briefing
  and decision on the collateral order doctrine and by giving the Seventh Circuit dis-
  cretion over which certified questions to review.


                                            12
Case 1:19-cv-03153-RLY-TAB Document 105 Filed 11/16/20 Page 15 of 16 PageID #: 852




                                     CONCLUSION

     Each of the questions proposed by the Archdiocese is a controlling and contestable

  question of law where early appellate resolution will advance the ultimate termina-

  tion of this litigation. The Court should certify those questions and allow the Seventh

  Circuit to decide whether to accept the appeal.



                                          Respectfully submitted,

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                                            13
Case 1:19-cv-03153-RLY-TAB Document 105 Filed 11/16/20 Page 16 of 16 PageID #: 853




                            CERTIFICATE OF SERVICE

        I do hereby certify that a copy of the foregoing has been served upon the

  following on November 16, 2020, by this Court’s electronic filing system:

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                                           14
